                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:05 CR 31-9


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )                 ORDER
                                                   )
JANET MARIE MOSTELLER,                             )
                                                   )
                  Defendant.                       )
________________________________________           )


        THIS CAUSE coming on to be heard and being heard on July 7, 2006 upon a motion

filed by the defendant entitled, “Motion for Bond Hearing” and it appearing to the court from

an examination of said motion and the records in this cause and after hearing other evidence

as is set forth in an order for release that the defendant has shown good cause for the granting

of a hearing and for allowing the defendant to be released on terms and conditions of pretrial

release.

                                           ORDER

        IT IS, THEREFORE ORDERED:

        1.    That the motion of the defendant entitled, “Motion for Bond Hearing” is

hereby ALLOWED.

        2.    That it is ORDERED that the defendant be released on terms and conditions

of pretrial release as has been entered in writing in this matter.




      Case 1:06-cr-00031-MR-WCM            Document 160        Filed 07/18/06      Page 1 of 2
                                Signed: July 18, 2006




                                2


Case 1:06-cr-00031-MR-WCM   Document 160    Filed 07/18/06   Page 2 of 2
